                    Case 5:23-cr-00561-JKP           Document 1           Filed 10/06/23          Page 1 of 3
AO 91 (Rev. 11/11) Criminal Complaint


                                    UNITED STATES DISTRICT COURT                                            FILED
                                                             for the                                   October 06, 2023
                                                                                                     CLERK, U.S. DISTRICT COURT
                                             WESTERN District of TEXAS                               WESTERN DISTRICT OF TEXAS

                                                                                                                  Jackson
                                                                                                 BY: ________________________________
                  United States of America                      )                                                        DEPUTY
                             v.                                 )
                                                                )       Case No. SA-23-MJ-1412
  MIGUEL ANGEL PADILLA-VILLANUEVA                               )
                                                                )
                                                                )
                                                                )
                           Defendant(s)


                                             CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of October 5, 2023                             in the county of Bexar                               in the
Western                District of Texas                    , the defendant(s) violated:
            Code Section                                                  Offense Description
21 USC § 841(a)(1) & (b)(1)(C)             Possession with Intent to Distribute a Controlled Substance which
                                           involved a Mixture or Substance containing a Detectable Amount of
                                           Cocaine.

                                           Penalties: 0 to 20 Years Imprisonment; $1 Million Fine; Minimum 3
                                           Years Supervised Release; and $100 Mandatory Special Assessment.

         This criminal complaint is based on these facts:

See attached affidavit




              Continued on the attached sheet.



                                                                                           Complainant’s signature

                                                                        SA Daniel Mariano, DEA
                                                                                            Printed name and title
    Sworn to before me and signed in my presence.
    Sworn to telephonically and signed electronically.


Date:       10/6/23
                                                                                              Judge’s signature

City and state:       San Antonio, Texas                                Elizabeth S. Chestney, U.S. Magistrate Judge
                                                                                            Printed name and title
        Case 5:23-cr-00561-JKP          Document 1        Filed 10/06/23      Page 2 of 3



I, Daniel Mariano, being duly sworn, depose and say:
       I am currently employed as a Special Agent with the United States Drug Enforcement
Administration (DEA) who is empowered by law to conduct investigations of and to make arrests for
offenses enumerated in Title 21, United States Code (USC). I have been employed by the DEA since
2020, and I am currently assigned to the San Antonio District Office in San Antonio, Texas. During
the course of my employment I have been personally involved in numerous drug trafficking and
money laundering investigations. I have special training in the investigation of drug trafficking
organizations, specifically, communication exploitation, drug trafficking patterns, and techniques.
        On Thursday October 5, 2023, at approximately 9:45 a.m., officers established surveillance at
a residence in the 3000 block Perez Street, San Antonio, Texas and observed Miguel Angel PADILLA-
Villanueva enter the residence carrying a large brown box. Officers also observed a gray Chevrolet
Malibu bearing Texas License Plates: SGY3335 parked outside the residence. At approximately 10:20
a.m., SA Mariano observed a Hispanic male exit the residence and entered the Chevrolet Malibu on
the driver’s side carrying a large bag. Shortly after the gray Chevrolet Malibu departed, the San
Antonio Police Department (SAPD) officers in a marked unit then caught up to the Chevrolet Malibu
with the Hispanic male standing outside of it. SAPD officers attempted to make contact with the
driver but the male driver but the driver then abandoned the Chevrolet Malibu and fled on foot
carrying the same bag scene at the residence. 2fficers located the driverand detained him as he
was making a phone call. The driver was identified as Armando HERNANDEZ Jr. At this
time, DEA SA Mariano arrived at the scene, read HERNANDEZ, Jr. hisMiranda Rights and agreed
to speak with officers. SA Mariano asked HERNANDEZ, Jr. where he threw the bag that
contained the cocaine. HERNANDEZ, Jr. admitted that he threw the bag in the backyard of a
house on the 3000 block W. Salinas, San Antonio, Texas. Officers found the bag andit contained
approximately 3 kilograms of cocaine. HERNANDEZ, Jr. admitted to SA Mariano thathe knew it
was cocaine that he had picked up from the residence in the 3000 block of Perez St. Atthis time,
the officers and agents with HERNANDEZ Jr. then relocated to Perez St., because otherofficers
and agents observed Miguel Angel PADILLA-Villanueva carrying the same large brown box from
the residence and into a Toyota Camry bearing Texas License Plate: TCV9108. PADILLA-
Villanueva then backed out of the residence and drove towards Commerce St.
        Shortly after, at the request of SA Mariano, officers initiated a traffic stop and detained
PADILLA-Villanueva as he exited his vehicle at the AutoZone parking lot located in the 4000 block
W Commerce Street, San Antonio, Texas based on the previous traffic stop that yielded approximately
3 kilograms of cocaine. After he was read his Miranda Rights in Spanish by SA Mariano, he admitted
that he had 5 kilograms of cocaine inside of his vehicle. Officers recovered the cocaine without
incident. PADILLA-Villanueva later admitted that he personally gave the cocaine to HERNANDEZ.
       Both seized amounts of cocaine were field tested, and yielded positive results for cocaine.
         Case 5:23-cr-00561-JKP             Document 1    Filed 10/06/23   Page 3 of 3



        Based on the foregoing, I submit there is probable cause to believe that Armando
HERNANDEZ Jr., and Miguel Angel PADILLA-Villanueva both knowingly possessed with the
intent to distribute a controlled substance which involved a mixture or substance containing a
detectable amount of cocaine, in violation of 21 U.S.C. § 841(a)(1) and (b)(1)(C).


___________________________
Daniel Mariano
Special Agent
Drug Enforcement Administration


Subscribed and sworn telephonically on October 6, 2023.




______________________________________
HONORABLE ELIZABETH S. CHESTNEY
UNITED STATES MAGISTRATE JUDGE
